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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                      Case No. 07-20076-18

 ANTHONY JOHNSON,

            Defendant.
 _______________________/


                ORDER GRANTING IN PART MOTION TO REINSTATE
                 BOND AND CANCELLING THE ARREST WARRANT

        On April 22, 2008, Defendant Anthony Johnson filed a “Motion to Reinstate Bond

 to Adjourn Sentencing”. After consultation with US Pretrial Services Officer Linda

 Anderson and review by the court the arrest warrant is CANCELLED and the bond is

 reinstated. Therefore,

        IT IS ORDERED that the “Motion to Reinstate Bond and to Adjourn Sentencing”

 is GRANTED IN PART AND DENIED IN PART

        The defendant is ordered to appear on April 29, 2008 at 2:00 p.m. for

 sentencing in this matter.




                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


 Dated: April 23, 2008
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, April 23, 2008, by electronic and/or ordinary mail.


                                                S/Lisa Wagner
                                               Case Manager and Deputy Clerk
                                               (313) 234-5522




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